            Case 2:22-cr-00048-RBS-LRL Document 1 Filed 05/04/22 Page 1 of 4 PageID# 66




Per Order
filed on
6/21/22,     ===========
second words
of "grams or
more" are
stricken from
the
Indictment.
Case 2:22-cr-00048-RBS-LRL Document 1 Filed 05/04/22 Page 2 of 4 PageID# 67
Case 2:22-cr-00048-RBS-LRL Document 1 Filed 05/04/22 Page 3 of 4 PageID# 68
Case 2:22-cr-00048-RBS-LRL Document 1 Filed 05/04/22 Page 4 of 4 PageID# 69
